
HENDON, J.
Miami Dade County MRI Corporation petitions this Court for a writ of certiorari, seeking to quash the following order entered by the circuit court, sitting in its appellate capacity: (1) an order granting United Automobile Insurance Company's motion for attorney's fees, and (2) an order denying Miami Dade County MRI Corporation's motion for attorney's fees under sections 627.428(1) and 627.736(8) of the Florida Statutes. Based on United Automobile Insurance Company's proper confession of error, we grant the petition, quash the orders under review, and remand for the entry of an order granting Miami Dade County MRI Corporation's motion for appellate attorney's fees filed under sections 627.428(1) and 627.736(8).
Petition granted; orders quashed; and remanded with directions.
